                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HERMINE BYFIELD,                            :
                                            :
            Plaintiff,                      :
                                            :         CIVIL ACTION
            v.                              :
                                            :         NO. 18-0243
HEALTHCARE REVENUE RECOVERY                 :
GROUP, LLC, et al.,                         :
                                            :
            Defendants.                     :

                                        ORDER

      AND NOW, this 22nd day of June 2022, upon consideration of Defendant’s Motion for

Leave to File Reply Brief (ECF No. 65), IT IS HEREBY ORDERED AND DECREED that

the Motion is DENIED.




                                                BY THE COURT:

                                                /s/ Petrese B. Tucker
                                                ____________________________
                                                Hon. Petrese B. Tucker, U.S.D.J.
